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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          2:20-cv-04877-DDP-GJS            JS-6                            Date   July 28, 2021
 Title             Melvin Steve Hill v. Los Angeles County Sheriff s Department, et al




 Present: The Honorable          DEAN D. PREGERSON, UNITED STATES DISTRICT JUDGE
                      Patricia Gomez                                           Not Present
                        Deputy Clerk                                     Court Reporter / Recorder
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:


 Proceedings:                 (IN CHAMBERS) MOTION TO DISMISS [15, 25]



         Plaintiff, represented by counsel, did not file oppositions to two separate motions to dismiss
(Dkts. 15, 25) prior to the originally-scheduled hearing date. Although the court, on its own motion,
continued the hearing date (and therefore the deadline to file written oppositions), Plaintiff has not filed
any opposition, or any document that could be construed as a request for a continuance. See C.D. Cal.
L.R. 7-9 ("Each opposing party shall . . . file . . . a brief but complete memorandum which shall contain a
statement of all the reasons in opposition [to the motion] and the points and authorities upon which the
opposing party will rely . . . ."). The court deems Plaintiff's failure to oppose as consent to the granting
of both motions. See C.D. Cal. L.R. 7-12 ("The failure to file any required document, or the failure to
file it within the deadline, may be deemed consent to the granting or denial of the motion.").
Accordingly, the motions to dismiss are GRANTED. Plaintiff's Complaint is hereby DISMISSED.




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                                                                      Initials of             PG
                                                               Preparer




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